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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 PUMA BIOTECHNOLOGY, INC.                            )
 and WYETH LLC,                                      )
                                                     )
                Plaintiffs,                          )
                                                     )
        v.                                           )     C.A. No. 21-1338 (MFK)
                                                     )
 ASTRAZENECA PHARMACEUTICALS LP                      )
 and ASTRAZENECA AB,                                 )
                                                     )
                Defendants.                          )


                          SCHEDULING ORDER FOR PATENT CASES
                           IN WHICH INFRINGEMENT IS ALLEGED

       This 16th day of February, 2022, the Court having conducted an initial Rule 16(b)

scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

or binding arbitration:

       IT IS ORDERED that:

       1.      Relevant Deadlines and Dates. All relevant deadlines and dates established by this

Order are set forth in the chart attached as Exhibit A.

       2.      Rule 26(a)(1) Initial Disclosures. On or before February 28, 2022, the parties shall

make their initial disclosures required by Federal Rule of Civil Procedure 26(a)(1).

       3.      Disclosure of Asserted Claims and Infringement Contentions. On or before

March 18, 2022, a party claiming patent infringement shall serve on all parties a “Disclosure of

Asserted Claims and Infringement Contentions.”            Separately for each opposing party, the

“Disclosure of Asserted Claims and Infringement Contentions” shall contain the following

information:
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            (a)        Each claim of each asserted patent that is allegedly infringed by each

     opposing party, including for each claim the applicable statutory subsections of 35 U.S.C.

     § 271 asserted;

            (b)        Separately for each asserted claim, each accused apparatus, product,

     device, process, method, act, or other instrumentality (“Accused Instrumentality”) of each

     opposing party of which the party is aware. This identification shall be as specific as

     possible. Each product, device, and apparatus shall be identified by name or model

     number, if known. Each method or process shall be identified by name, if known, or by

     any product, device, or apparatus which, when used, allegedly results in the practice of the

     claimed method or process;

            (c)        A chart identifying specifically where and how each limitation of each

     asserted claim is found within each Accused Instrumentality, including for each limitation

     that such party contends is governed by 35 U.S.C. § 112(f), the identity of the structure(s),

     act(s), or material(s) in the Accused Instrumentality that performs the claimed function;

            (d)        For each claim alleged to have been indirectly infringed, an identification

     of any direct infringement and a description of the acts of the alleged indirect infringer

     that contribute to or are inducing that direct infringement. Insofar as alleged direct

     infringement is based on joint acts of multiple parties, the role of each such party in the

     direct infringement must be described;

            (e)        Whether each limitation of each asserted claim is alleged to be present

     literally or under the doctrine of equivalents in the Accused Instrumentality;

            (f)        For any patent that claims priority to an earlier application, the priority date

     to which each asserted claim is alleged to be entitled;




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                (g)    If a party claiming patent infringement wishes to preserve the right to rely,

       for any purpose, on the assertion that its own or its licensee’s apparatus, product, device,

       process, method, act, or other instrumentality practices the claimed invention, the party

       shall identify, separately for each asserted claim, each such apparatus, product, device,

       process, method, act, or other instrumentality that incorporates or reflects that particular

       claim;

                (h)    The timing of the point of first infringement, the start of claimed damages,

       and the end of claimed damages; and

                (i)    If a party claiming patent infringement alleges willful infringement, the

       basis for such allegation.

       4.       Document Production Accompanying Disclosure of Asserted Claims and

Infringement Contentions. With the “Disclosure of Asserted Claims and Infringement

Contentions,” the party claiming patent infringement shall produce to each opposing party or

make available for inspection and copying:

                (a)    Documents (e.g., contracts, purchase orders, invoices, advertisements,

       marketing materials, offer letters, beta site testing agreements, and third party or joint

       development agreements) sufficient to evidence each discussion with, disclosure to, or

       other manner of providing to a third party, or sale of or offer to sell, or any public use of,

       the claimed invention prior to the date of application for the asserted patent(s);

                (b)    All documents evidencing the conception, reduction to practice, design, and

       development of each claimed invention, which were created on or before the date of

       application for the asserted patent(s) or the priority date identified pursuant to paragraph 3(f)

       of this Order, whichever is earlier;




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               (c)   A copy of the file history for each asserted patent;

               (d)   All documents evidencing ownership of the patent rights by the party

     asserting patent infringement;

               (e)   If a party identifies instrumentalities pursuant to paragraph 3(g) of this

     Order, documents sufficient to show the operation of any aspects or elements of such

     instrumentalities the patent claimant relies upon as embodying any asserted claims;

               (f)   All agreements, including licenses, transferring an interest in any asserted

     patent;

               (g)   All agreements that the party asserting infringement contends are

     comparable to a license that would result from a hypothetical reasonable royalty

     negotiation;

               (h)   All agreements that otherwise may be used to support the party asserting

     infringement’s damages case;

               (i)   If a party identifies instrumentalities pursuant to paragraph 3(g) of this

     Order, documents sufficient to show marking of such embodying accused

     instrumentalities; and if the party wants to preserve the right to recover lost profits based

     on such products, the sales, revenues, costs, and profits of such embodying accused

     instrumentalities; and

               (j)   All documents comprising or reflecting a F/RAND commitment or

     agreement with respect to the asserted patent(s). The producing party shall separately

     identify by production number the documents that correspond to each category set forth

     in this paragraph. A party’s production of a document as required by this paragraph shall




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       not constitute an admission that such document evidences or is prior art under 35 U.S.C.

       § 102.

       5.       Invalidity Contentions. On or before April 29, 2022, each party opposing a claim

of patent infringement shall serve on all parties its “Invalidity Contentions” which shall contain

the following information:

                (a)     The identity of each item of prior art that the party alleges anticipates each

       asserted claim or renders the claim obvious. Each prior art patent shall be identified by its

       number, country of origin, and date of issue. Each prior art publication shall be identified

       by its title, date of publication, and, where feasible, author and publisher. Each alleged

       sale or public use shall be identified by specifying the item offered for sale or publicly

       used or known, the date the offer or use took place or the information became known, and

       the identity of the person or entity which made the use or which made and received the

       offer, or the person or entity which made the information known or to whom it was made

       known. For pre-AIA claims, prior art under 35 U.S.C. § 102(f) shall be identified by

       providing the name of the person(s) from whom and the circumstances under which the

       invention or any part of it was derived. For pre-AIA claims, prior art under 35 U.S.C.

       § 102(g) shall be identified by providing the identities of the person(s) or entities involved

       in and the circumstances surrounding the making of the invention before the patent

       applicant(s);

                (b)    Whether each item of prior art anticipates each asserted claim or renders it

       obvious. If obviousness is alleged, an explanation of why the prior art renders the asserted

       claim obvious, including an identification of any combinations of prior art showing

       obviousness;




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               (c)    A chart identifying specifically where and how in each alleged item of prior

       art each limitation of each asserted claim is found, including for each limitation that such

       party contends is governed by 35 U.S.C. § 112(f), the identity of the structure(s), act(s),

       or material(s) in each item of prior art that performs the claimed function; and

               (d)    Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness under

       35 U.S.C. § 112(b), or lack of enablement or insufficient written description under

       35 U.S.C. § 112(a) of any of the asserted claims.

       6.      Document Production Accompanying Invalidity Contentions. With the

“Invalidity Contentions,” the party opposing a claim of patent infringement shall produce or make

available for inspection and copying:

               (a)    Source code, specifications, schematics, flow charts, artwork, formulas, or

       other documentation sufficient to show the operation of any aspects or elements of an

       Accused Instrumentality identified by the patent claimant in its chart produced pursuant to

       paragraph 3(c) of this Order;

               (b)    A copy or sample of the prior art identified pursuant to paragraph 5(a) that

       does not appear in the file history of the patent(s) at issue. To the extent any such item is

       not in English, an English translation of the portion(s) relied upon shall be produced;

               (c)    All agreements that the party opposing infringement contends are

       comparable to a license that would result from a hypothetical reasonable royalty

       negotiation;

               (d)    Documents sufficient to show the sales, revenue, cost, and profits for

       Accused Instrumentalities identified pursuant to paragraph 3(b) of this Order for any

       period of alleged infringement; and




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               (e)    All agreements that may be used to support the damages case of the party

       that is denying infringement. The producing party shall separately identify by production

       number the documents that correspond to each category set forth in this paragraph.

       7.      Amendment to Contentions. Amendment of the Infringement Contentions or the

Invalidity Contentions may be made only by order of the Court upon a timely showing of good

cause. Non-exhaustive examples of circumstances that may, absent undue prejudice to the non-

moving party, support a finding of good cause include (a) recent discovery of material prior art

despite earlier diligent search and (b) recent discovery of nonpublic information about the

Accused Instrumentality which was not discovered, despite diligent efforts, before the service of

the Infringement Contentions. The duty to supplement discovery responses does not excuse the

need to obtain leave of the Court to amend contentions.

       8.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, without the leave of court shall be filed on or

before January 27, 2023.

       9.      Discovery.

               (a)    Discovery Cut Off. All discovery in this case shall be initiated so that it

       will be completed on or before March 24, 2023.

               (b)    Document Production. Document production shall be completed on or

       before November 10, 2022.

               (c)    Requests for Admission. A maximum of N/A (no limit) requests for

       admission are permitted for each side.




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               (d)     Interrogatories. A maximum of 25 interrogatories, including contention

       interrogatories, are permitted for each side.            The parties may seek additional

       interrogatories through agreement or permission from the Court.

               (e)     Depositions.

                               (1)     Limitation on Hours for Deposition Discovery.

                        Each side is limited to a total of 98 hours of taking testimony by deposition

                       upon oral examination, including inventor depositions. The parties may

                       seek additional hours for taking testimony by deposition through agreement

                       or permission from the Court.

                               (2) Limitation on Hours for Expert Deposition Discovery.

                       Depositions of experts, including depositions of claim construction

                       experts, shall not count against this limit.

                               (3)     Location of Depositions. Any party or representative

                       (officer, director, or managing agent) of a party filing a civil action in this

                       District Court must ordinarily be required, upon request, to submit to a

                       deposition at a place designated within this District. Exceptions to this

                       general rule may be made by order of the Court or by agreement of the

                       parties. A defendant who becomes a counterclaimant, cross-claimant, or

                       third-party plaintiff shall be considered as having filed an action in this

                       Court for the purpose of this provision.

       10.     Pinpoint Citations. Pinpoint citations are required in all briefing, letters, and concise

statements of facts. The Court will ignore any assertions of controverted facts and controverted

legal principles not supported by a pinpoint citation to, as applicable: the record, an attachment or




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exhibit, and/or case law or appropriate legal authority. See United States v. Dunkel, 927 F.2d 955,

956 (“Judges are not like pigs, hunting for truffles buried in briefs.”).

       11.     Application to Court for Protective Order. Should counsel find it will be necessary

to apply to the Court for a protective order specifying terms and conditions for the disclosure of

confidential information, counsel should confer and attempt to reach an agreement on a proposed

form of order and submit it to the Court on or before February 28, 2022.

       Any proposed protective order must include the following paragraph:

                       Other Proceedings. By entering this Order and limiting the
                       disclosure of information in this case, the Court does not
                       intend to preclude another court from finding that
                       information may be relevant and subject to disclosure in
                       another case. Any person or party subject to this Order who
                       becomes subject to a motion to disclose another party’s
                       information designated as confidential pursuant to this
                       Order shall promptly notify that party of the motion so that
                       the party may have an opportunity to appear and be heard
                       on whether that information should be disclosed.

       12.     Disputes Relating to Discovery Matters and Protective Orders. The parties shall

follow Judge Kennelly’s procedures regarding discovery motions for discovery disputes and

disputes regarding the protective order. Specifically, as set forth in Judge Kennelly’s web page,

the Court will set a briefing schedule only rarely, and will instead address such motions at an

upcoming status hearing or separately set it for a hearing, at which all parties should be fully

prepared to argue the motion. If a briefing schedule is set on a discovery motion, it typically will

be expedited so that the motion can be resolved promptly.

       13.     Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to the

Clerk an original and two copies of the papers. A redacted version of any sealed document shall

be filed electronically within seven days of the filing of the sealed document.




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       14.    Hard Copies. The parties shall follow Judge Kennelly’s practices regarding

courtesy copies.

       15.     Claim Construction Issue Identification. On or before June 28, 2022, the parties

shall exchange a list of those claim term(s)/phrase(s) that they believe need construction. On or

before July 12, 2022, the parties shall exchange their proposed claim construction of the

term(s)/phrase(s). These documents will not be filed with the Court. Subsequent to exchanging these

documents, the parties will meet and confer to prepare a Joint Claim Construction Chart no later

than July 22, 2022 and subsequently file the Joint Claim Construction Chart no later than July

29, 2022. The text for the Joint Claim Construction Chart shall be 12-point and in Times New

Roman or a similar typeface. The parties’ Joint Claim Construction Chart should identify for the

Court the term(s)/phrase(s) of the claim(s) in issue and should include each party’s proposed

construction of the disputed claim language with citation(s) only to the intrinsic evidence in

support of their respective proposed constructions. A separate text-searchable PDF of each of the

patent(s) in issue shall be submitted with this Joint Claim Construction Chart. In this joint

submission, the parties shall not provide argument. Each party shall file concurrently with the

Joint Claim Construction Chart a “Motion for Claim Construction” that requests the Court to adopt

the claim construction position(s) of that party set forth in the Joint Claim Construction Chart.

The motion shall not contain any argument and shall simply state that the party “requests that the

Court adopt the claim construction position[s] of [the party] set forth in the Joint Claim

Construction Chart (D.I. [ ]).”

       16.      Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

brief, not to exceed 5,500 words, on September 2, 2022. The Defendants shall serve, but not

file, its answering brief, not to exceed 8,250 words, on October 7, 2022. The Plaintiff shall serve,




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but not file, its reply brief, not to exceed 5,500 words, on October 28, 2022. The Defendants shall

serve, but not file, its sur-reply brief, not to exceed 2,750 words, on November 18, 2022. The

text for each brief shall be 12-point and in Times New Roman or a similar typeface. Each brief

must include a certification by counsel that the brief complies with the type and number

limitations set forth above. The person who prepares the certification may rely on the word count

of the word-processing system used to prepare the brief.

       No later than December 2, 2022, the parties shall file a Joint Claim Construction Brief.

The parties shall copy and paste their untitled briefs into one brief, with their positions on each

claim term in sequential order, in substantially the form below.

                            JOINT CLAIM CONSTRUCTION BRIEF

               I.    Agreed-upon Constructions

               II.   Disputed Constructions

                       A.    [TERM 1]

                               1. Plaintiffs Opening Position
                               2. Defendant’s Answering Position
                               3. Plaintiff’s Reply Position
                               4. Defendant’s Sur-Reply Position
                       B.    [TERM 2]

                               1.   Plaintiff’s Opening Position
                               2.   Defendant’s Answering Position
                               3.   Plaintiffs Reply Position
                               4.   Defendant’s Sur-Reply Position

       The parties need not include any general summaries of the law relating to claim

construction. If there are any materials that would be submitted in an appendix, the parties shall

submit them in a Joint Appendix. Citations to intrinsic evidence shall be set forth in the Joint

Claim Construction Brief. Citations to expert declarations and other extrinsic evidence may be

made in the Joint Claim Construction Brief as the parties deem necessary, but the Court will



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review such extrinsic evidence only if the Court is unable to construe the disputed claim terms

based on the intrinsic evidence. See Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1584

(Fed. Cir. 1996). Declarations shall not contain legal argument or be used to circumvent the

briefing word limitations imposed by this paragraph. The Joint Claim Construction Brief and Joint

Appendix shall comply with paragraphs 10 and 14 of this Order.

       17.     Meet and Confer Confirmation and Amended Claim Chart. On or before

December 9, 2022, local and lead counsel for the parties shall meet and confer and thereafter file

an Amended Joint Claim Construction Chart that sets forth the terms that remain in dispute.

During the meet and confer, the parties shall attempt to reach agreement on any disputed terms

where possible and to narrow the issues related to the remaining disputed terms. The parties shall

file with the Amended Joint Claim Construction Chart a letter that identifies by name each

individual who participated in the meet and confer, when and how (i.e., by telephone or in person)

the meet and confer occurred, and how long it lasted. If no agreements on constructions have been

reached or if no dispute has been narrowed as a result of the meet and confer, the letter shall so

state and the parties need not file an Amended Joint Claim Construction Chart.

       18.     Hearing on Claim Construction. Beginning at 10:00 a.m. CST on January 20,

2023, the Court will hear argument on claim construction. Absent prior approval of the Court

(which, if it is sought, must be done by joint letter submission no later than the date on which

answering claim construction briefs are due to be served), the parties shall not present testimony

at the argument, and the argument shall not exceed a total of two hours.

       19.     Advice of Counsel.

       Defendant shall disclose its intent to rely on advice of counsel offered in defense to a

charge of willful infringement seven (7) days after the Court’s claim construction ruling. Upon




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disclosing its intent to rely on the advice of counsel, Defendants shall produce or make available

for inspection and copying any written advice and documents related thereto for which attorney-

client and work product protection have been waived. This provision shall not be construed to

address whether additional materials are subject to discovery or within the scope of any waiver of

the attorney-client privilege. Fact discovery relating to advice of counsel shall end no earlier than

30 days after the Court’s claim construction ruling.

       20.     Disclosure of Expert Testimony.

               (a)     Expert Reports. For the party with the initial burden of proof on the subject

       matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

       May 19, 2023. The supplemental disclosure to contradict or rebut evidence on the same

       matter identified by another party is due on or before June 30, 2023. Reply expert reports

       from the party with the initial burden of proof are due on or before August 11, 2023. No

       other expert reports will be permitted without either the consent of all parties or leave of

       the Court. Along with the submissions of the expert reports, the parties shall provide the

       dates and times of their experts’ availability for deposition. Depositions of experts shall be

       completed on or before September 22, 2023.

               (b)     Objections to Expert Testimony. To the extent any objection to expert

       testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

       Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence

       702, it shall be made by motion no later than November 17, 2023, unless otherwise

       ordered by the Court. Likewise, oppositions to such motions shall be made by December

       15, 2023, and replies by January 19, 2024, unless otherwise ordered by the Court.




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       21.    Case Dispositive Motions.

              (a)     No Early Motions Without Leave. All case dispositive motions and the

       opening briefs and affidavits supporting such motions shall be served and filed on or

       before November 17, 2023. No case dispositive motion under Rule 56 may be filed more

       than ten days before this date without leave of the Court. Oppositions to case dispositive

       motions shall be served and filed on or before December 15, 2023 and any replies thereto

       shall be served and filed on or before January 19, 2024.

              (b)     Motions to be Filed Separately. A party shall not combine into a single

       motion multiple motions that rely in whole or in part on different facts.

              (c)     Concise Statement of Facts Requirement. Any motion for summary

       judgment shall be accompanied by a separate concise statement detailing each material

       fact as to which the moving party contends that there are no genuine issues to be tried that

       are essential for the Court’s determination of the summary judgment motion (not the entire

       case). 1 A party must submit a separate concise statement of facts for each summary

       judgment motion. Any party who opposes the motion shall file and serve with its opposing

       papers a separate document containing a single concise statement that admits or disputes

       the facts set forth in the moving party’s concise statement, as well as sets forth all material

       facts as to which it is contended there exists a genuine issue necessary to be litigated.

              (d)     Focus of the Concise Statement. When preparing the separate concise

       statement, a party shall reference only the material facts that are absolutely necessary for

       the Court to determine the limited issues presented in the motion for summary judgment



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       The party must detail each material fact in its concise statement of facts. The concise
statements of facts play an important gatekeeping role in the Court’s consideration of summary
judgment motions.


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      (and no others), and each reference shall contain a citation to a particular affidavit,

      deposition, or other document that supports the party’s interpretation of the material fact.

      Documents referenced in the concise statement may, but need not, be filed in their entirety

      if a party concludes that the full context would be helpful to the Court (e.g., a deposition

      miniscript with an index stating what pages may contain key words may often be useful).

      The concise statement shall particularly identify the page and portion of the page of the

      document referenced. The document referred to shall have relevant portions highlighted

      or otherwise emphasized. The parties may extract and highlight the relevant portions of

      each referenced document, but they shall ensure that enough of a document is attached to

      put the matter in context. If a party determines that an entire deposition transcript should

      be submitted, the party should consider whether a miniscript would be preferable to a full-

      size transcript. If an entire miniscript is submitted, the index of terms appearing in the

      transcript must be included, if it exists. When multiple pages from a single document are

      submitted, the pages shall be grouped in a single exhibit. Concise statements of fact shall

      comply with paragraphs 10 and 14 of this Order.

             (e)     Word Limits for Concise Statement. The concise statement in support of or

      in opposition to a motion for summary judgment shall be no longer than 1,750 words. The

      text for each statement shall be 12-point and in Times New Roman or a similar typeface.

      Each statement must include a certification by counsel that the statement complies with

      the type and number limitations set forth above. The person who prepares the certification

      may rely on the word count of the word-processing system used to prepare the statement.




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               (f)     Affidavits and Declarations. Affidavits or declarations setting forth facts

       and/or authenticating exhibits, as well as exhibits themselves, shall be attached only to the

       concise statement (i.e., not briefs).

               (g)     Scope of Judicial Review. When resolving motions for summary judgment,

       the Court shall have no independent duty to search and consider any part of the record not

       otherwise referenced in the separate concise statements of the parties. Further, the Court

       shall have no independent duty to review exhibits in their entirety, but rather will review

       only those portions of the exhibits specifically identified in the concise statements. Material

       facts set forth in the moving party’s concise statement will be deemed admitted unless

       controverted by a separate concise statement of the opposing party.

       22.     Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       23.     Pretrial Conference. On April 30, 2024, the Court will hold a Rule 16(e) final

pretrial conference with counsel beginning at 9:30 a.m. The Court reserves the right to conduct

the final pretrial conference via videoconference. The parties shall file a joint proposed final

pretrial order in compliance with Local Rule 16.3(c) no later than 5:00 p.m. ET on April 9, 2024.

Unless otherwise ordered by the Court, the parties shall comply with the timeframes set forth in

Local Rule 16.3(d) for the preparation of the proposed joint final pretrial order. The joint pretrial

order shall comply with paragraphs 10 and 14 of this Order.

       24.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall be

limited to three in limine requests, unless otherwise permitted by the Court. Each in limine request




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and any response shall contain the authorities relied upon; each in limine request may be supported

by a maximum of three pages of argument and may be opposed by a maximum of three pages of

argument, and the party making the in limine request may add a maximum of one additional page

in reply in support of its request. If more than one party is supporting or opposing an in limine

request, such support or opposition shall be combined in a single three-page submission (and, if

the moving party, a single one-page reply). No separate briefing shall be submitted on in limine

requests, unless otherwise permitted by the Court. Motions in limine shall comply with paragraphs

10 and 14 of this Order.

         25.    Compendium of Cases. A party may submit with any briefing two courtesy copies of

a compendium of the selected authorities on which the party would like the Court to focus. The

parties should not include in the compendium authorities for general principles or uncontested points

of law (e.g., the standards for summary judgment or claim construction). An authority that is cited

only once by a party generally should not be included in the compendium. An authority already

provided to the Court by another party should not be included in the compendium. Compendiums of

cases shall not be filed electronically with the Court, but a notice of service of a compendium of cases

shall be filed electronically with the Court. Compendiums shall comply with paragraph 14 of this

Order.

         26.    Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules of the District of Delaware 47.1(a)(2) and 51.1, the parties

should file (i) proposed voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and

(iv) special verdict forms no later than 5:00 p.m. ET on April 9, 2024 [21 days before the Pretrial

Conference].

         27.     Trial.




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       This matter will be scheduled for a 5-day jury trial beginning at 8:30 a.m. ET on or after May

       13, 2024, with the subsequent trial days beginning at 9:00 a.m. ET. Until the case is

       submitted to the jury for deliberations, the jury will be excused each day at or about 4:30

       p.m. ET. The trial will be timed, as counsel will be allocated a total number of hours in

       which to present their respective cases. The Court reserves the right to adjust the length

       of the trial before, at, or after the final pretrial conference based on submissions by any

       party seeking an increase or a decrease in the time allotted.

       28.      ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.




_______________________________________
The Honorable Matthew F. Kennelly
United States District Court Judge


Date: February 16, 2022




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                      Puma/Wyeth v. AstraZeneca (21-cv-1338-MFK)
                            Exhibit A to Scheduling Order

        EVENT                DATE ADOPTED             PLAINTIFFS’          DEFENDANTS’
                             BY THE COURT              PROPOSED           PROPOSED DATE
                                                       DATE (if not        (if not agreed by
                                                     agreed by parties)         parties)
 Parties to file Proposed    February 15, 2022
 Scheduling Order
 Parties to serve Rule       February 28, 2022
 26(a)(1) initial
 disclosures
 Parties to file             February 28, 2022
 stipulation for entry of
 Protective Order / ESI
 order
 Initial ESI Disclosures       March 18, 2022
 pursuant to Delaware’s
 Default Standard
 Plaintiffs to serve           March 18, 2022
 “Disclosure of Asserted
 Claims and
 Infringement
 Contentions” and to
 produce “Document
 Production
 Accompanying
 Disclosure of Asserted
 Claims and
 Infringement
 Contentions” (see
 Scheduling Order, ¶¶
 3–4)
 Telephonic status          April 14, 2022 at 8:45
 hearing                          a.m. CST
 Defendants to serve           April 29, 2022
 “Invalidity
 Contentions” and to
 produce “Document
 Production
 Accompanying
 Invalidity Contentions”
 (see Scheduling Order,
 ¶¶ 5–6)
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         EVENT               DATE ADOPTED             PLAINTIFFS’          DEFENDANTS’
                             BY THE COURT              PROPOSED           PROPOSED DATE
                                                       DATE (if not        (if not agreed by
                                                     agreed by parties)         parties)
 Defendant to disclose       7 days after entry of
 intent to rely on advice     the Court’s claim
 of counsel defense          construction ruling
 Parties to exchange            June 28, 2022
 claim terms for
 construction
 Parties to exchange            July 12, 2022
 proposed constructions
 Parties meet and confer        July 22, 2022
 to prepare Joint Claim
 Construction Chart
 Parties to file Joint          July 29, 2022
 Claim Construction
 Chart
 Plaintiffs to serve         September 2, 2022
 opening claim
 construction brief
 Defendants to serve           October 7, 2022
 answering claim
 construction brief
 Parties to submit joint       October 7, 2022
 request for live
 testimony at claim
 construction hearing
 Plaintiffs to serve reply    October 28, 2022
 claim construction brief
 Substantial completion      November 10, 2022
 of document
 production
 Defendants to serve         November 18, 2022
 sur-reply claim
 construction brief
 Deadline for motions to      January 27, 2023       November 29, 2022     February 17, 2023
 join other parties or
 amend / supplement
 pleadings
 Parties to file joint       December 2, 2022
 claim construction brief
 Meet and Confer             December 9, 2022
 Confirmation and
 Amended Claim Chart


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        EVENT              DATE ADOPTED             PLAINTIFFS’          DEFENDANTS’
                           BY THE COURT              PROPOSED           PROPOSED DATE
                                                     DATE (if not        (if not agreed by
                                                   agreed by parties)         parties)
 Claim construction        Week of Jan. 16, 2023
 hearing
 Fact discovery closes        March 24, 2023
 Parties to serve              May 19, 2023
 opening expert reports
 by party with initial
 burden of proof
 Parties to serve rebuttal     June 30, 2023
 expert reports
 Parties to serve reply      August 11, 2023
 expert reports
 Expert discovery closes September 22, 2023
 Parties to file any case   November 17, 2023
 dispositive motions and
 any Daubert motions
 Parties to file            December 15, 2023
 answering briefs for
 Daubert motions
 Parties to file            December 15, 2023            TBD            December 15, 2023
 answering briefs for
 dispositive motions
 Parties to file reply       January 19, 2024
 briefs for Daubert
 motions
 Parties to file reply       January 19, 2024            TBD             January 19, 2024
 briefs for dispositive
 motions
 Parties to file joint         April 9, 2024
 proposed final pretrial
 order
 Parties to file proposed      April 9, 2024
 voir dire, preliminary
 jury instructions, final
 jury instructions, and
 special verdict forms
 Final Pre-Trial              April 30, 2024
 Conference
 Trial                      On or after May 13,
                                   2024




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